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 6   and Sling TV L.L.C.
 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                               Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                    DECLARATION OF JEFF TIMMERMANS
13

14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Jeff Timmermans, of London, Ontario, Canada declare as follow:
19           1.      I make this declaration based on personal knowledge and, if called upon to testify,
20   would testify competently as stated herein.
21           2.      I am a licensed private investigator for Xpera Risk Mitigation and Investigation LP
22   (“Xpera”). Xpera was established in Canada in 1975 and provides investigation and risk mitigation
23   services. I have worked for Xpera since 2000 and currently serve as a Director of Investigations,
24   overseeing Xpera’s investigative operations for the Southwest region of Ontario.
25           3.      Xpera was tasked by NagraStar LLC to purchase the internet streaming television
26   service referred to as Sharma IPTV (the “Service”) from Defendant Vaneet Sharma. The purchase
27   was conducted by an Xpera investigator working under my direction and supervision. I reviewed
28   the report corresponding with this purchase of the Service in preparing this declaration and relevant

                                         Declaration of Jeff Timmermans
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